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                                       PRETRIAL ORDER

        IT IS ORDERED that a Pretrial Conference will be held in the chambers of Judge Eldon

E.Fallon on 6HSWHPEHUWK, 2022 at 0 p.m. C.S.T.

        The purpose of the Pretrial Conference is to secure a just and speedy determination of the

issues for trial. If the procedure set forth below does not appear calculated to achieve these ends

in this case, please arrange a conference with the Judge and opposing counsel immediately to

discuss alternative possibilities.

        IT IS FURTHER ORDERED that the parties comply with the following procedure to

prepare for the Pretrial Conference, unless the parties have previously provided the following

information either voluntarily or pursuant to an Order by the Court:

        Ten (10) days before the Pretrial Conference:

        1. The Government shall file a list of all witnesses it may use at trial, including will-call

            and may-call witnesses.

        2. The Defendant shall file a list of the will-call witnesses he or she plans to use at trial.

        3. If any party plans to use an expert witness, that party shall provide a written report or

            summary of the expert witness’s testimony pursuant to Federal Rules of Criminal

            Procedure 16(a)(1)(G) and/or 16(b)(1)(C).
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4. Each party shall file a list of all exhibits that party plans to use at trial.

5. The parties shall jointly file any stipulations that will apply at trial.



New Orleans, Louisiana, this th day of JXO\, 2022.




                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE




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